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UNITED STATES DISTRICT COURT ‘Poke oon coum
FOR THE DISTRICT OF MARYLAND a OWTRICT CF MAWYLAND
UNITED STATES OF AMERICA CRIMINAL NO. , L - | _ “lol
Vv. (Failure to Surrender for Service of

Sentence, 18 U.S.C. § 3146(a)(2))
DAVID W. BURNSIDE,

Defendant.

 

INFORMATION
The United States Attorney for the District of Maryland charges that:
On or about May 11, 2021, in the District of Maryland, the defendant,
DAVID W. BURNSIDE,

having been released pursuant to Chapter 207 of Title 18, United States Code, while awaiting
surrender for service of sentence after having been found in violation of the terms of supervised
release in the United States District Court for the District of Maryland, in Criminal Number 05-cr-
0586-RDB, and having been directed by the Court to surrender to the Bureau of Prisons at 2:00
p.m., on May 11, 2021, at the designated institution, did knowingly and willfully fail to surrender

for service of sentence as so ordered by the Court.

18 U.S.C. §§ 3146(a)(2), (b)(1)(A)(iii), & 3147.

November 19, 2021 uk L. Barren pwd

Date Erek L. Barron
United States Attorney

 
